                                                             4                 '
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6                              UNITED STATES DISTRICT

7                       FOR THE CENTRAL DISTRICT OF CALIBORNIA
                                 February 1991 Grand Jury
8
        UNITED STATES OF AMERICA,                No. CR 87-422(G)-ER
9
                          Plaintiff,             SEVENTH SUPERSEDING
10                                               INDICTMENT
                          V.
11                                               [18 U.S.C. S 1959(a)(1):
        RAFAEL CARO-QUINTERO, v/                 Violent Crimes i n A i d of
12           aka "Rafael",                       Racketeering;
             aka "Rafa",          v/             18 U.S.C. S 1959(a)(5):
13      ERNESTO FONSECA-CARRILLO,                Conspiracy to Commit Violent
             aka "Don Neto",        v            Crimes i n A i d of Racketeering;
14      MIGUEL ANGEL FELIX-GALLARDO,             18 U.S.C. § 1201(c):
        MANUEL IBARRA-HERRERA,                   Conspiracy to Kidnap a Federal
15      MIGUEL ALDANA-IBi^RA, ^                  Agent; i8 U.S.C. § 1201(a)(5):
        RUBEN ZUNO-ARCE, V      /                Kidnapping of a Federal Agent;
16      JAVIER BARBA-HERNANDEZ,                  18 U.S.C. SS 1111, 1114:
        ARMANDO PAVON-REYES, J        ^          Felony Murder of a Federal
        JUAN GILBERTO HERNANDEZ-PARRA/^          Agent; 18 U.S.C. S 2: Aiding
17      SERGIO ESPINO-VERDIN,—                   and Abetting; 18 U.S.C. S 3:
        HUMBERTO ALVAREZ-MACHAIN,-               Accessory After the Fact]
18      ANTONIO VASQUEZ-VELASCO
        ANTONIO VASQUEZ-OCHOA,>*
19      EZEQUIEL GODINEZ-CERVANTES,"^
        INES CALDERON-QUINTERO,
20           aka "Rolando Cervantes",
        ALBINO BA^A^|^ADILLA,
21
                    Defendants.
22
23
24
25


       (jjLC: jlc

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      Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 2 of 29 Page ID #:2476



 1
               The Grand Jury charges:
 2
               General Allegations
 3
               1.     At a l l times referred to in this Seventh Superseding
 4
         Indictment, defendant RAFAEL CARO-QUINTERO, aka "Rafael", aka
 5
         "Rafa", ERNESTO FONSECA-CARRILLO, aka "Don Neto", MIGUEL ANGEL
 6
         FELIX-GALLARDO, MANUEL IBARRA-HERRERA, MIGUEL ALDANA-IBARRA,
 7       RUBEN ZUNO-ARCE, JAVIER BARBA-HERNANDEZ, ARMANDO PAVON-REYES,
 8       JUAN GILBERTO HERNANDEZ-PARRA, SERGIO ESPINO-VERDIN, HUMBERTO
 9       ALVAREZ-MACHAIN, ANTONIO VASQUEZ-VELASCO, ANTONIO VASQUEZ-OCHOA,
10       EZEQUIEL GODINEZ-CERVANTES, INES CALDERON-QUINTERO, aka "Rolando
11       Cervantes", ALBINO BAZAN-PADILLA, and unindicted co-conspirators
12       Juan Ramon Matta-Ballesteros, Rene Martin Verdugo-Urquidez,            Raul
13       Lopez-Alvarez, Juan Jose Bernabe-Ramirez, Javier Vasquez-Velasco
14       and Jesus Felix-Guiterrez, were members of an international
15       narcotics enterprise based in Guadalajara, Jalisco, Mexico
         (hereinafter referred to as the "Guadalajara Narcotics Cartel").
J'J            2.     At a l l times referred to i n this Seventh Superseding
Jg       Indictment, the Guadalajara Narcotics Cartel engaged i n
         racketeering activity, including, but not limited to, the
19
         cultivation, importation and distribution of multi-ton quantities
20
         of marijuana in Mexico, the Central District of California, and
21
         elsewhere.
22
               3.     At a l l times referred to i n this Seventh Superseding
23
         Indictment, the Guadalajara Narcotics cartel also engaged i n the
24
         importation and distribution of multi-kilogram quantities of
25
         cocaine in Mexico, Colombia, Costa Rica, the Central District of
26
         California, and elsewhere.


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 1
               4.    At a l l times referred to in this Seventh Superseding
 2
         Indictment, defendants RAFAEL CARO-QUINTERO, ERNESTO FONSECA-
 3
         CARRILLO, MIGUEL ANGEL FELIX-GALLARDO and co-conspirator Juan
 4
         Ramon Matta-Ballesteros supervised and managed the Guadalajara
 5
         Narcotics Cartel, and co-conspirator Rene Martin Verdugo-Urquidez
 6
         was a high level lieutenant of defendant RAFAEL CARO-QUINTERO i n
 7       said enterprise,
 a
 "             5.    At a l l times referred to in this Seventh Superseding
 '       Indictment, defendants RUBEN ZUNO-ARCE, HUMBERTO ALVAREZ-MACHAIN,
10
         ANTONIO VASQUEZ-VELASCO, ANTONIO VASQUEZ-OCHOA and EZEQUIEL
11       GODINEZ-CERVANTES and co-conspirators Juan Jose Bernabe-Ramirez
12       and Javier Vasquez-Velasco assisted, aided and abetted the
13       Guadalajara Narcotics Cartel.
14             6.    At a l l times referred to in this Seventh Superseding
15       Indictment, Enrique Camarena-Salazar was a Special Agent employed
Jg       by the Drug Enforcement Administration (hereinafter "DEA") and
J'J      assigned to the DEA office in Guadalajara, Jalisco, Mexico.
Jg             7.    At a l l times referred to in this Seventh Superseding
19       Indictment, Special Agent Enrique Camarena-Salazar was
20       responsible for investigating the Guadalajara Narcotics Cartel.
21             8.    At a l l times referred to in this Seventh Superseding
22       Indictment, Alfredo Zavala-Avelar was a pilot who assisted the
23       DEA and Special Agent Enrique Camarena-Salazar i n locating
24       marijuana fields in Mexico.
25             9.    At a l l times referred to in this Seventh Superseding
26       Indictment, John Walker was a United States citizen temporarily

27       residing in Guadalajara, Jalisco, Mexico.

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 1
               10.   At a l l times referred to in this Seventh Superseding
 2
         Indictment, Alberto Radelat was a United States permanent
 3
         resident alien temporarily residing in Guadalajara, Jalisco,
 4
         Mexico.
 5
               11.   At a l l times referred to in this Seventh Superseding
 6
         Indictment, defendant MANUEL IBARRA-HERRERA was the Director of
 7       the Mexican Federal Judicial Police.
 8             12.   At a l l times referred to in this Seventh Superseding
 '       Indictment, defendant MIGUEL ALDANA-IBARRA was the Director of
10       Interpol in Mexico.
11             13.   At a l l times referred to in this Seventh Superseding
12       Indictment, dief endant ARMANDO PAVON-RYES was a Comandante with
13       the Mexican Federal Judicial Police and assigned by the Mexican
14       government to head the investigation into the kidnapping and
15       murder of Special Agent Enrique Camarena-Salazar.
15             14.   At a l l times referred to in this Seventh Superseding
J'J      Indictment, defendant SERGIO ESPINO-VERDIN, a Comandante with the
Jg       Directorate of Federal Security in Mexico, worked for the
         Guadalajara Narcotics Cartel.
               15.   At a l l times referred to in this Seventh Superseding
         Indictment, co-conspirator Raul Lopez-Alvarez, a State Judicial
         Police Officer assigned to the homicide investigation squad in
         Guadalajara, worked for the Guadalajara Narcotics Cartel.
               16.   At a l l times referred to in this Seventh Superseding
         Indictment, defendant JUAN GILBERTO HERNANDEZ-PARRA, an agent
         with the Mexican Federal Judicial Police assigned to Guadalajara,
         Jalisco, Mexico, worked for the Guadalajara Narcotics Cartel.
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 1
                17.   Commencing in 1984, members of the Guadalajara
 2
         Narcotics Cartel engaged in a series of actions the purpose and
'3
         intent of which was to retaliate against the DEA, i t s agents and
 4
         informants, in Mexico, and to learn the nature and extent of the
 5
         DEA's knowledge of the membership and operations of the cartel.
 6       Such actions included, but were not limited to, the following:
 7                    a.   On or about September 30, 1984, a confidential
 8       informant working for the DEA was shot in Guadalajara, Jalisco,
 Q          .

 ^
10       Mexico, by members of the Guadalajara Narcotics Cartel.
                      b.   On or about October 10, 1984, in Guadalajara,
11       Jalisco, Mexico, members of the Guadalajara Narcotics Cartel
12       machine-gunned a DEA automobile assigned to a DEA agent.
13                    c.   On or about January 30, 1985, John Walker and
14       Alberto Radelat were murdered by members of the Guadalajara
15       Narcotics Cartel.
15                    d.   On or about February 7, 1985, Special Agent
J'J      Enrique Camarena-Salazar and Alberto Zavala-Avelar were kidnapped
Jg       by members of the Guadalajara Narcotics Cartel.
19                    e.   On or about February 7, 1985, Special Agent
20       Enrique Camarena-Salazar was taken to defendant RAFAEL CARO-
21       QUINTERO 'S residence at 881 Lope de Vega in Guadalajara, Jalisco,
22       Mexico.
23                    f.   Between on or about February 7, 1985, and February
24       9, 1985, Special Agent Enrique Camarena-Salazar and Alfredo
25       Zavala-Avelar were tortured, interrogated and murdered.
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28                                            -5-
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1
              18.   On or about February 7, 1985, co-conspirator Juan Jose
2
        Bernabe-Ramirez and other named defendants and co-conspirators,
3
        were present at 881 Lope de Vega in Guadalajara, Jalisco, Mexico.
4
              19.   On or about February 9, 1985, defendant RAFAEL CARO-
5
        QUINTERO and co-conspirator Rene Martin Verdugo-Urquidez fled
6
        Guadalajara, Jalisco, Mexico.
7             20.   On or about March 5, 1985, the bodies of Special Agent
8       Enrique Camarena-Salazar and Alfredo Zavala-Avelar were found
Q
' I     together in Zamora, Michoacan, Mexico.
10            21.   On or about March 17, 1985, defendant RAFAEL CARO-
11      QUINTERO fled Mexico to Costa Rica.
12            22.   On or about June 17, 1985, the bodies of John Walker
13      and Alberto Radelat were found together in Guadalajara, Jalisco,
14      Mexico.
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     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 7 of 29 Page ID #:2481




 1
                                         COUNT ONE
2
                              [18 U.S.C. SS 1959(a)(1), 2]
3
              The general allegations of this Seventh Superseding
4
        Indictment are realleged in this count and incorporated herein by
5
        reference.
6
              On or about January 30, 1985, in Guadalajara, Jalisco,
7
        Mexico, defendants RAFAEL CARO-QUINTERO, ERNESTO FONSECA-
8
        CARRILLO, JAVIER BARBA-HERNANDEZ, JUAN GILBERTO HERNANDEZ-PARRA,
9       ANTONIO VASQUEZ-VELASCO, ANTONIO VASQUEZ-OCHOA, EZEQUIEL GODINEZ-
10      CERVANTES and co-conspirator Javier Vasquez-Velasco, and others
11      known and unknown to the Grand Jury, did aid, abet, counsel,
12      induce, procure, cause and otherwise w i l l f u l l y participate in the
13      murder of John Walker, which offense was committed for the
14      purpose of maintaining and increasing the positions of the
15      aforesaid defendants in an enterprise that engaged i n
15      racketeering activity, to wit:        individuals associated for the
17      purpose of trafficking in marijuana and cocaine, whose activities
Jg      affected interstate and foreign commerce. The racketeering

19      activity included, but i s not limited to, the following

20      substantive narcotics offenses:
              1.     From in or about November, 1983, through in or about
21
        June, 1984, defendant RAFAEL CARO-QUINTERO, and other members of
22
        the Guadalajara Narcotics Cartel, possessed with intent to
23
        distribute multi-ton quantities of marijuana which were being
24
        cultivated in marijuana fields i n Zacatecas, Mexico.
25
              2.     In or about June, 1984, defendant RAFAEL CARO-QUINTERO,
26
        and other members of the Guadalajara Narcotics Cartel, possessed
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28                                           -7-
       Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 8 of 29 Page ID #:2482




 1
          with intent to distribute approximately ten (10) tons of
2
          harvested marijuana i n Zacatecas, Mexico.
 3
                3.     In or about April, 1984, co-conspirator Rene Martin
4
          Verdugo-Urquidez,     and other members of the Guadalajara Narcotics
 5
          Cartel, i n the Central District of California and elsewhere,
6
          possessed with intent to distribute approximately two (2) tons of
7         marijuana.
 8              4.     In or about April, 1984, co-conspirator Rene Martin
'         Verdugo-Urquidez,     and other members of the Guadalajara Narcotics
10        Cartel, i n the Central District of California and elsewhere,
11        possessed with intent to distribute approximately two (2) tons of
12 I      marihuana.
13              5.     In or about November, 1984, defendant RAFAEL CARO-
14        QUINTERO, and other members of the Guadalajara Narcotics Cartel,
15        possessed with intent to distribute approximately 10,000 tons of
15        marijuana which were being cultivated in marijuana fields i n
17        Ch ihuahua, Mexico.
Jg              6.     On or about February 5, 1985, con-conspirator Rene
j^        Martin Verdugo-Urquidez,     and other members of the Guadalajara
2Q        Narcotics Cartel, possessed two (2) tons of marijuana with intent
2j        to distribute.

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     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 9 of 29 Page ID #:2483




 1
                                         COUNT TWO
2
                              [18 U.S.C. SS 1959(a)(1), 2]
3
              The general allegations of this Seventh Superseding
4
        Indictment are realleged i n this count and incorporated herein by
5
        reference.
6
              On or about January 30, 1985, in Guadalajara, Jalisco,
7
        Mexico, defendants RAFAEL XARO-QUINTERO, ERNESTO FONSECA-
8
        CARRILLO, JAVIER BARBA-HERNANDEZ, JUAN GILBERTO HERNANDEZ-PARRA,
9
        ANTONIO VASQUEZ-VELASCO, ANTONIO VASQUEZ-OCHOA, EZEQUIEL GODINEZ-
10      CERVANTES and co-conspirator Javier Vasquez-Velasco and others
11      known and unknown to the Grand Jury, did aid, abet, counsel,
12      induce, procure, cause and otherwise w i l l f u l l y participate in the
13      murder of Alberto Radelat, which offense was committed for the
14      purpose of maintaining and increasing the positions of the
15      aforesaid defendants i n an enterprise that engaged i n
15      racketeering activity, to ^wit:       individuals associated for the
17      purpose of trafficking in marijuana and cocaine, whose activities
Jg      affected interstate and foreign commerce. The racketeering
j^      activity included,r but i s not limited to, the following
        substantive narcotics offenses:
              1.     From i n or about November, 1983, through i n or about
        June, 1984, defendant RAFAEL CARO-QUINTERO, and other members of
        the Guadalajara Narcotics Cartel, possessed with intent to
        distribute multi-ton quantities of marijuana which were being
        cultivated in marijuana fields i n Zacatecas, Mexico.
              2.     In or about June, 1984, defendant RAFAEL CARO-QUINTERO,
        and other members of the Guadalajara Narcotics Cartel, possessed
      Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 10 of 29 Page ID #:2484



 1
         with intent to distribute approximately ten (10) tons of
 2
         harvested marijuana i n Zacatecas, Mexico.
 3
               3.     In or about April, 1984, co-conspirator Rene Martin
 4
         Verdugo-Urquidez,     and other members of the Guadalajara Narcotics
 5
         Cartel, i n the Central District of California and elsewhere,
 6
         possessed with intent to distribute approximately two (2) tons of
 7
         marijuana.
 8             4.     In or about April, 1984, co-conspirator Rene Martin
 o

1'0       Verdugo-Urquidez,    and other members of the Guadalajara Narcotics
         Cartel, i n the Central District of California and elsewhere,
11       possessed with intent to distribute approximately two (2) tons of
12 I     marijuana.
13             5.     In or about November, 1984, defendant RAFAEL CARO-
14       QUINTERO, and other members of the Guadalajara Narcotics Cartel,
15       possessed with intent to distribute approximately 10,000 tons of
15       marijuana which were being cultivated in marijuana fields i n
17       Ch ihuahua, Mexico.
Jg             6.     On or about February 5, 1985, co-conspirator Rene
j^       Martin Verdugo-Urquidez,      and other members of the Guadalajara
2Q       Narcotics Cartel, possessed two (2) tons of marijuana with intent
2j       to distribute.
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28                                           -10-
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 11 of 29 Page ID #:2485



 1
                                        COUNT THREE
2
                               [18 U.S.C. SS 1959(a)(5), 2]
3^
              The general allegations of this Seventh Superseding
4
        Indictment are realleged i n this count and incorporated herein by
5
        reference.
6
        A.    Objects of the Conspiracy
7
              Beginning on a date unknown and continuing to on or about
8
        February 9, 1985, within Guadalajara, Jalisco, Mexico, defendants
9       RAFAEL CARO-QUINTERO, ERNESTO FONSECA-CARRILLO, MIGUEL ANGEL
10      FELIX GALLARDO, MANUEL IBARRA-HERRERA, MIGUEL ALDANA-IBARRA,
11      RUBEN ZUNO-ARCE, JAVIER BARBA-HERNANDEZ, ARMANDO^^AVON-REYES,
12      JUAN GILBERTO HERNANDEZ-PARRA, SERGIO ESP^O-VERDIN, HUMBERTO
13      ALVAREZ-MACHAIN, and co-conspirators Juan Ramon Matta-
14      Ballesteros, Rene Martin Verdugo-Urquidez, Juan Jose Bernabe-
15      Ramirez, Raul Lopez-Alvarez, and others known and unknown to the
15      Grand Jury, unlawfully and knowingly combined, conspired,
17      confederated and agreed 'to commit an offense against the United
Ig      States, namely:
j9                   To knowingly and intentionally kidnap,
2Q                   torture, interrogate and murder Special Agent
                     Enrique Camarena-Salazar, in violation of
                     T i t l e 18, United States Code, Section
                     1959(a)(5).
        B.    Means of the Conspiracy
              1.     Defendants RAFAEL CARO-QUINTERO, ERNESTO FONSECA-
                     CARRILLO, MIGUEL ANGEL FELIX-GALLARDO, MANUEL IBARRA-
                     HERRERA, MIGUEL ALDANA-IBARRA, RUBEN ZUNO-ARCE, JAVIER
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 12 of 29 Page ID #:2486



 1
                    BARBA-HERNANDEZ, JUAN GILBERTO HERNANDEZ-PARRA, ARMANDO
2
                    PAVON-REYES, co-conspirator Juan Ramon Matta-
3
                    Ballesteros, and others both known and unknown,
4
                    organized and put into operation a scheme to kidnap and
5
                    murder Enrique Camarena-Salazar, a Special Agent with
6
                    the United States Drug Enforcement Administration.
7
              2.    Defendants RAFAEL CARO-QUINTERO, ERNESTO
8                   FONSECA-CARRILLO, SERGIO ESPINO-VERDIN and
9                   HUMBERTO ALVAREZ-MACHAIN, and co-conspirators
10                  Rene Martin Verdugo-Urquidez, Juan Jose
11                  Bernabe-Ramirez and Raul Lopez-Alvarez, and
12                  other members of the Guadalajara Narcotics
13                  Cartel, caused Special Agent Enrique
14                  Camarena-Salazar to be kidnapped, held
15                  against his w i l l , tortured, interrogated and
15                  murdered.
17      C.    Overt Acts
Jg            The following overt acts, among others, were committed by
jg      the defendants and by their co-conspirators i n furtherance of the
        foregoing conspiracy i n Guadalajara, Jalisco, Mexico:
              1.    In or about October, 1984, defendants RAFAEL
                    CARO-QUINTERO, ERNESTO FONSECA-CARRILLO,
                    MANUEL IBARRA-HERRERA, MIGUEL ALDANA-IBARRA,
                    RUBEN ZUNO-ARCE, JAVIER BARBA-HERNANDEZ,
                    ARMANDO PAVON-REYES, co-conspirator Juan
                    Ramon Matta-Ballesteros, and others, met at a
                    residence of defendant JAVIER BARBA-HERNANDEZ
      Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 13 of 29 Page ID #:2487
                                                              •




                     in Guadalajara, Jalisco, Mexico, and
                     .discussed the kidnapping of Special Agent
                     Enrique Camarena-Salazar.
               2.    In or about December, 1984, defendants
                     RAFAEL CARO-QUINTERO, ERNESTO FONSECA-
                     CARRILLO, JAVIER BARBA-HERNANDEZ, and others,

                     met at a residence of defendant ERNESTO
 8                   FONSECA-CARRILLO in Guadalajara, Jalisco,
 Q

1'0                   Mexico, and had a discussion concerning
                     Special Agent Enrique Camarena-Salazar.
11             3.    In or about December, 1984, defendant JUAN
12                   GILBERTO HERNANDEZ-PARRA, an agent with the
13                   Mexican Federal Judicial Police, was present
14                   at this meeting at the residence of defendant
15                   ERNESTO FONSECA-CARRILLO in Guadalajara,
15                   Jalisco, Mexico.
17             4.    In or about the f i r s t week of February, 1985,
Jg                   defendants RAFAEL CARO-QUINTERO, ERNESTO FONSECA-
j9                   CARRILLO, RUBEN ZUNO-ARCE and JAVIER BARBA-HERNANDEZ
20                   met at a residence of defendant JAVIER BARBA-HERNANDEZ
21                   in Guadalajara, Jalisco, Mexico, and discussed the
22                   kidnapping and interrogation of Special Agent Enrique
23                   Camarena-Salazar.
24             5.    On or about February 7, 1985, Special Agent
25                   Enrique Camarena-Salazar was abducted by
26                   members of the Guadalajara Narcotics Cartel.
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28                                           -13-
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 14 of 29 Page ID #:2488



 1
              6.    From on or about February 7, 1985, to
 2
                    February 9, 1985, defendant RAFAEL CARO-
3
                    QUINTERO, and others, interrogated Special
4
                    Agent Enrique Camarena-Salazar at 881 Lope de
 5
                    Vega in Guadalajara, Jalisco, Mexico.
6
              7.    From on or about February 7, 1985, to
 7                  February 9, 1985, defendant SERGIO ESPINO-
 o

 "                  VERDIN, a Comandante with the Directorate of
 '                   Federal Security, and others, interrogated
10                  Special Agent Enrique Camarena-Salazar at 881
11                  Lope de Vega in Guadalajara, Jalisco, Mexico.
12            8.    On or about February 8, 1985,       defendant
13                  ERNESTO FONSECA-CARRILLO was present at 881
14                  Lope de Vega in Guadalajara, Jalisco, Mexico.
15            9.    On or about February 8, 1985, co-conspirator
J5                  Juan Jose Bernabe-Ramirez was present at 881
j7                  Lope de Vega in Guadalajara, Jalisco, Mexico.
Jg            10.   On or about February 8, 1985,       defendant
JJ                  HUMBERTO ALVAREZ-MACHAIN was present at 881
20                  Lope de Vega, Guadalajara, Jalisco, Mexico.
21            11.   On or about February 8, 1985, co-conspirator
22                  Raul Lopez-Alvarez, a State Judicial Police
23                  Officer, was present at 881 Lope de Vega in
24                  Guadalajara, Jalisco, Mexico.
25            12.   On or about February 8, 1985, co-conspirator
26                  Rene Martin Verdugo-Urquidez was present at
27
28                                           -14-
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 15 of 29 Page ID #:2489



 1
                    881 Lope de Vega i n Guadalajara, Jalisco,
 2
                    Mexico.
 3
              13.   On or about February 10, 1985, defendant
 4
                    MIGUEL ANGEL FELIX-GALLARDO possessed at his
 5
                    residence i n Guadalajara, Jalisco, Mexico, a
 6                  photograph of Special Agent Enrique Camarena-
 7                  Salazar.
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     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 16 of 29 Page ID #:2490




 1
                                         COUNT FOUR
 2
                              [18 U.S.C. SS 1959(a)(1), 2]
3
              The general allegations of this Seventh Superseding
4
        Indictment are realleged i n this count and incorporated herein by
5
        reference.
6
              On or about February 7, 1985, i n Guadalajara, Jalisco,
7       Mexico, defendants RAFAEL CARO-QUINTERO, ERNESTO FONSECA-
8       CARRILLO, MIGUEL ANGEL FELIX-GALLARDO, MANUEL IBARRA-HERRERA,
9       MIGUEL ALDANA-IBARRA, RUBEN ZUNO-ARCE, JAVIER BARBA-HERNANDEZ,
10      ARMANDO PAVON-REYES, JUAN GILBERTO HERNANDEZ-PARRA, SERGIO
11      ESPINO-VERDIN, HUMBERTO ALVAREZ-MACHAIN, and CO-COnspirators             Juan

12      Ramon Matta-Ballesteros, Rene Martin Verdugo-Urquidez,           Juan Jose
13      Bernabe-Ramirez, Raul Lopez-Alvarez, and others known and unknown
14      to the Grand Jury, did aid, abet^ counsel, induce, procure, cause
15      and otherwise w i l l f u l l y participate i n the kidnapping and murder
15      of Special Agent Enrique Camarena-Salazar, which offenses were
j7      committed for the purpose of maintaining and increasing the
Jg      positions of the aforesaid defendants i n an enterprise that
        engaged i n racketeering activity, to wit:         individuals associated
19
        for the purpose of trafficking in marijuana and cocaine, whose
20
        activities affected interstate and foreign commerce. The
21
        racketeering activity included, but i s not limited to, the
22
        following substantive narcotics offenses:
23
              1.     From i n or about November, 1983, through i n or about
24
        June, 1984, defendant RAFAEL CARO-QUINTERO, and other members of
25
        the Guadalajara Narcotics Cartel, possessed with intent to
26
27
                                             -16-
28
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 1
        distribute multi-ton quantities of marijuana which were being
2
        cultivated in marijuana fields i n Zacatecas, Mexico.
3
              2.     In or about June, 1984, defendant RAFAEL CARO-QUINTERO,
4
        and other members of the Guadalajara Narcotics Cartel, possessed
5
        with intent to distribute approximately ten (10) tons of
6
        harvested marijuana i n Zacatecas, Mexico.
7             3.     In or about April, 1984, co-conspirator Rene Martin
g
"       Verdugo-Urquidez,     and other members of the Guadalajara Narcotics
'        Cartel, i n the Central District of California and elsewhere,
10
        possessed with intent to distribute approximately two (2) tons of
11
        marijuana.
12            4.     In or about April, 1984, co-conspirator Rene Martin
13      Verdugo-Urquidez,     and other members of the Guadalajara Narcotics
14      Cartel, i n the Central District of California and elsewhere,
15      possessed with intent to distribute approximately two (2) tons of
J5      marijuana.
j7            5.     In or about November, 1984, defendant RAFAEL CARO-
jg      QUINTERO, and other members of the Guadalajara Narcotics Cartel,
19      possessed with intent to distribute approximately 10,000 tons of
20      marijuana which were being cultivated in marijuana fields i n
21      Chihuahua, Mexico.
22            6.     On or about February 5, 1985, co-conspirator Rene
23      Martin Verdugo-Urquidez,      and other members of the Guadalajara

24      Narcotics Cartel, possessed two (2) tons of marijuana with intent

25      to distribute.

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28                                           -17-
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 1
                                         COUNT FIVE
2
                               [18 U.S.C. SS 1959(a)(1), 2]
3
              The general allegations of this Seventh Superseding
4
        Indictment are realleged in this count and incorporated herein by
5
        reference.
6
              On or about February 7, 1985, in Guadalajara, Jalisco,
7
        Mexico, defendants RAFAEL CARO-QUINTERO, ERNESTO FONSECA-
*        CARRILLO, SERGIO ESPINO-VERDIN, and co-conspirators Rene Martin
'        Verdugo-Urquidez, Juan Jose Bernabe-Ramirez, Raul Lopez-Alvarez,
10      and others known and unknown to the Grand Jury, did aid, abet,
11      counsel, induce, procure, cause and otherwise w i l l f u l l y
12      participate in the kidnapping and murder of Alfredo Zavala-
13      Avelar, which offenses were committed for the purpose of
14      maintaining and increasing the positions of the aforesaid
15      defendants i n an enterprise that engaged in racketeering
j5      activity, to wit:      individuals associated for the purpose of
j7      trafficking in marijuana and cocaine, whose activities affected
Jg      interstate and foreign commerce. The racketeering activity

19      included, but i s not limited to, the following substantive

20      narcotics offenses:
              1.     From in or about November, 1983, through in or about
21
        June, 1984, defendant RAFAEL CARO-QUINTERO, and other members of
22
        the Guadalajara Narcotics Cartel, possessed with intent to
23
        distribute multi-ton quantities of marijuana which were being
24
        cultivated i n marijuana fields in Zacatecas, Mexico.
25
              2.     In or about June, 1984, defendant RAFAEL CARO-QUINTERO,
26
        and other members of the Guadalajara Narcotics Cartel, possessed
27
28                                           -18-
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 1
        with intent to distribute approximately ten (10) tons of
2
        harvested marijuana in Zacatecas, Mexico.
3
              3.     In or about April, 1984, co-conspirator Rene Martin
4
        Verdugo-Urquidez,     and other members of the Guadalajara Narcotics
5
        Cartel, i n the Central District of California and elsewhere,
6
        possessed with intent to distribute approximately two (2) tons of
7       marijuana.
^             4.     In or about April, 1984, co-conspirator Rene Martin
'        Verdugo-Urquidez,     and other members of the Guadalajara Narcotics
10      cartel, i n the Central District of California and elsewhere,
11      possessed with intent to distribute approximately two (2) tons of
12      marijuana.
13            5.     In or about November, 1984, defendant RAFAEL CARO-
14      QUINTERO, and other members of the Guadalajara Narcotics Cartel,
15      possessed with intent to distribute approximately 10,000 tons of
J5      marijuana which were being cultivated in marijuana fields i n
J7       Ch ihuahua, Mexico.
Jg            6.     On or about February 5, 1985, co-conspirator Rene
JJ      Martin Verdugo-Urquidez,      and other members of the Guadalajara
2Q      Narcotics Cartel, possessed two (2) tons of marijuana with intent
        to distribute.
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28                                          -19-
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 20 of 29 Page ID #:2494



 1
                                           COUNT SIX
2
                                    [18 U.S.C. S 1201(C)]
3'
              The general allegations of this Seventh Superseding
4
        Indictment are realleged in this count and incorporated herein by
5
        reference.
6
        A.    Objects of the Conspiracy
7
              Beginning on a date unknown and continuing to on or about
8       February 9, 1985, within Guadalajara, Jalisco, Mexico, defendants
9       RAFAEL CARO-QUINTERO, ERNESTO FONSECA-CARRILLO, MIGUEL ANGEL
10      FELIX-GALLARDO, MANUEL IBARRA-HERRERA, MIGUEL ALDANA-IBARRA,
11      RUBEN ZUNO-ARCE, JAVIER BARBA-HERNANDEZ, ARMANDO PAVON-REYES,
12      JUAN GILBERTO HERNANDEZ-PARA, SERGIO ESPINO-VERDIN, HUMBERTO
13      ALVAREZ-MACHAIN, and co-conspirators Juan Ramon Matta-
14      Ballesteros, Rene Martin Verdugo-Urquidez, Juan Jose Bernabe-
15      Ramirez, Raul Lopez-Alvarez, and others known and unknown to the
15      Grand Jury, unlawfully and knowingly combined, conspired,
j7      confederated and agreed to commit an offense against the United
Jg      States, namely:
JJ                   To knowingly and intentionally kidnap and

20                   hold for'the purpose of interrogation, a
                     Special Agent of the United States Drug
21
                     Enforcement Administration, on account of the
22
                     performance of his o f f i c i a l duties, i n
23
                     violation of T i t l e 18, United States Code,
24
                     Sections 1201(a)(5) and 1201(c).
25
        B.    Means of the Conspiracy
26
27
28                                           -20-
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 21 of 29 Page ID #:2495




 1
              The foregoing objects of the conspiracy were accomplished as
2
        follows:
3
              1.    Defendants RAFAEL CARO-QUINTERO, ERNESTO
4
                    FONSECA-CARRILLO, MIGUEL ANGEL FELIX-
5
                    GALLARDO, MANUEL IBARRA-HERRERA, MIGUEL
6                   ALDANA-IBARRA, RUBEN ZUNO-ARCE, JAVIER BARBA-
7                   HERNANDEZ, JUAN GILBERTO HERNANDEZ-PARRA,
*                   ARMANDO PAVON-REYES, co-conspirator Juan
                    Ramon Matta-Ballesteros, and other members of
10                  the Guadalajara Narcotics Cartel, developed a
11                  scheme and plan to kidnap torture and
12                  interrogate Enrique Camarena-Salazar, a
13                  Special Agent with the United States Drug
14                  Enforcement Administration.
15            2.    Defendants RAFAEL CARO-QUINTERO, ERNESTO
J5                  FONSECA-CARRILLO, SERGIO ESPINO-VERDIN,
jy                  HUMBERTO ALVAREZ-MACHAIN, and CO-conspirators

18                  Rene Martin Verdugo-Urquidez, Juan Jose
                    Bernabe-Ramirez and Raul Lopez-Alvarez and
19
                    other members of the Guadalajara Narcotics
20
                    Cartel, caused Special Agent Enrique
21
                    Camarena-Salazar to be held against his w i l l
22
                    at 881 Lope de Vega in Guadalajara, Jalisco,
23
                    Mexico.
24
        C.    Overt Acts
25
26
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28                                           -21-
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 22 of 29 Page ID #:2496



 1
              The following overt acts, among others, were committed by
 2
        the defendants and by their co-conspirators i n furtherance of the
 3
        foregoing conspiracy i n Guadalajara, Jalisco, Mexico:
4
              1.    In or about October, 1984, in a meeting at a
 5
                    residence of defendant JAVIER BARBA-
6
                    HERNANDEZ, i n Guadalajara, Jalisco, Mexico,
7                   defendants RAFAEL CAROTQUINTERO, ERNESTO
 8                  FONSECA-CARRILLO, MANUEL IBARRA-HERRERA,
9                   MIGUEL ALDANA-IBARRA, RUBEN ZUNO-ARCE, JAVIER
10                  BARBA-HERNANDEZ, ARMANDO PAVON-REYES, CO-
11                  conspirator Juan Ramon Matta-Ballesteros, and
12                  others, discussed the kidnapping of Special
13                  Agent Enrique Camarena-Salazar.
14            2.    In or about December, 1984, i n a meeting at
15                  the residence of defendant ERNESTO FONSECA-
15                  CARRILLO in Guadalajara, Jalisco, Mexico,
J7                  defendants RAFAEL CARO-QUINTERO, ERNESTO
Jg                  FONSECA-CARRILLO, JAVIER BARBA-HERNANDEZ, and
                    others, had a discussion concerning Special
19
                    Agent Enrique Camarena-Salazar.
20
              3.    In or about December, 1984, defendant JUAN
21
                    GILBERTO HERNANDEZ-PARRA, an agent with the
22
                    Mexican Federal Judicial Police, was present
23
                    at this meeting at defendant ERNESTO FONSECA-
24
                    CARRILLO 's residence in Guadalajara, Jalisco,
25
                    Mexico.
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28                                           -22-
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 23 of 29 Page ID #:2497




 1
                    In or about the f i r s t week of February, 1985,
 2
                    defendants RAFAEL CARO-QUINTERO, ERNESTO
 f
                    FONSECA-CARRILLO, RUBEN ZUNO-ARCE and JAVIER
4
                    BARBA-HERNANDEZ met at a residence of
5
                    defendant JAVIER BARBA-HERNANDEZ i n
6                   Guadalajara, Jalisco, Mexico, and discussed
7                   the kidnapping and interrogation of Special
8                   Agent Enrique Camarena-Salazar.
^              5.   On or about February 7, 1985, members of the
10                  Guadalajara Narcotics Cartel abducted Special
11                  Agent Enrique Camarena-Salazar.
12            6.    Between on or about February 7, 1985, and
13                  February 9, 1985, defendant RAFAEL CARO-
14                  QUINTERO, and others, interrogated Special
15                  Agent Enrique Camarena-Salazar.
15            7.    Between on or about February 7, 1985, and
j7                  February 9, 1985, defendant SERGIO ESPINO-
                    VERDIN, a Comandante with the Directorate of
18
                    Federal Security, and others, interrogated
19
                    Special Agent Enrique Camarena-Salazar.
20
              8.    On or about February 8, 1985, defendant
21
                    ERNESTO FONSECA-CARRILLO went to 881 Lope de
22
                    Vega in Guadalajara, Jalisco, Mexico.
23
              9.    On or about February 8, 1985, co-conspirator
24
                    Juan Jose Bernabe-Ramirez went to 881 Lope de
25
                    Vega i n Guadalajara, Jalisco, Mexico.
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28                                           -23-
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 24 of 29 Page ID #:2498



 1
              10.   On or about February 8, 1985, defendant
2
                    HUMBERTO ALVAREZ-MACHAIN went to 881 Lope de
3
                    Vega i n Guadalajara, Jalisco, Mexico.
4
              11.   On or about February 8, 1985, co-conspirator
5
                    Rene Martin Verdugo-Urquidez went to 881 Lope
6                   de Vega i n Guadalajara, Jalisco, Mexico.
7             12.   On or about February 8, 1985, co-conspirator
8                   Raul Lopez-Alvarez, a State Judicial Police
'                   Officer, went to 881 Lope de Vega i n
10                  Guadalajara, Jalisco, Mexico.
11            13. On or about February 10, 1985, defendant
12                  MIGUEL ANGEL FELIX-GALLARDO possessed at his
13                  residence i n Guadalajara, Jalisco, Mexico, a
14                  photograph of Special Agent Enrique Camarena-
15                  Salazar.

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     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 25 of 29 Page ID #:2499



 1
                                         COUNT SEVEN
 2
                               [18 U.S.C. SS 1201(a)(5), 2]
 3
              The general allegations of this Seventh Superseding
4
        Indictment are realleged in this count and incorporated herein by
 5
        reference.
6
              Beginning on a date unknown and continuing to on or about
7
        February 9, 1985, i n Guadalajara, Jalisco, Mexico, defendants
 8
        RAFAEL CARO-QUINTERO, ERNESTO FONSECA-CARRILLO, MIGUEL ANGEL
9       FELIX-GALLARDO, MANUEL IBARRA-HERRERA, RUBEN ZUNO-ARCE, JAVIER
10      BARBA-HERNANDEZ, ARMANDO PAVON-REYES, JUAN GILBERTO HERNANDEZ-
                                                                    t—•


11      PARRA, SERGIO ESPINO-VERDIN, HUMBERTO ALVAREZ-MACHAIN, and CO-
12      conspirators Juan Ramon Matta-Ballesteros, Rene Martin Verdugo-
13      Urquidez, Juan Jose Bernabe-Ramirez, Raul Lopez-Alvarez, and
14      others known and unknown to the Grand Jury, did aid, abet,
15      counsel, induce, procure, cause and otherwise w i l l f u l l y
15      participate in the abduction and holding for the purpose of
j7      interrogation of Enrique Camarena-Salazar, a Special Agent with
Jg      the Drug Enforcement Administration, such acts having been done
19      while Special Agent Enrique Camarena-Salazar was engaged in, and
                                             r..
20      on account of, the performance of his o f f i c i a l duties, in
21      violation of T i t l e 18, United States Code, Sections 1201(a)(5)
22      and 2.
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28                                           -25-
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 26 of 29 Page ID #:2500
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 1
                                        COUNT EIGHT
 2
                             [18 U.S.C. SS 1111(a), 1114, 2]
 3
              The general allegations of this Seventh Superseding
4
        Indictment are realleged in this count and incorporated herein by
 5
        reference.
6
              On or about February 9, 1985, in Guadalajara, Jalisco,
7       Mexico, Enrique Camarena-Salazar, an officer and employee of the
 8                            . . .
 "       Drug Enforcement Administration, was murdered on account of the
'        performance of his o f f i c i a l duties as a Special Agent of the Drug
10      Enforcement Administration, said murder having taken place in and
11      during the course of the perpetration of his kidnapping.
12      Defendants RAFAEL CARO-QUINTERO, ERNESTO-FONSECA-CARRILLO, SERGIO
13      ESPINO-VERDIN, HUMBERTO ALVAREZ-MACHAIN, and co-conspirators Juan
14      Ramon Matta-Ballesteros, Rene Martin Verdugo-Urquidez, Juan Jose
15      Bernabe-Ramirez, Raul Lopez-Alvarez, and others known and unknown
j5      to the Grand Jury, w i l l f u l l y perpetrated the kidnapping and
j7      holding for interrogation of Enrique Camarena-Salazar, on account
Jg      of the performance of his o f f i c i a l duties as a Special Agent of
19      the Drug Enforcement Administration, by aiding, abetting,
20      counseling, inducing, procuring, causing and otherwise w i l l f u l l y
21      participating in said kidnapping, in violation of T i t l e 18,
22      United States Code, Sections 1111, 1114, and 2.
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28                                           -26-
      Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 27 of 29 Page ID #:2501




 1
                                          COUNT NINE
 2
                                       [18 U.S.C. S 3]
 3
               The general allegations of this Seventh Superseding
4
         Indictment are realleged i n this count and incorporated herein by
 5
         reference.
6
               On or about February 9, 1985, i n Guadalajara, Jalisco,
7
         Mexico, defendants MANUEL IBARRA-HERRERA and ARMANDO PAVON-REYES,
 Q

 **      and co-conspirators Juan Jose Bernabe-Ramirez and Raul Lopez-
'         Alvarez, knowing that defendant RAFAEL CARO-QUINTERO aided,
10       abetted, counseled, induced, procured, caused and otherwise
11       w i l l f u l l y participated i n the kidnapping and murder of Enrique
12       Camarena-Salazar^and Alfred Zavala-Avelar, in violation by
13       defendant RAFAEL CARO-QUINTERO of T i t l e 18, United States Code,
14       Sections 1111, 1114, 1201(a)(5), 1959 and 2, did knowingly and
15       w i l l f u l l y receive, comfort and assist defendant RAFAEL CARO-
15       QUINTERO i n order to hinder and prevent his apprehension, t r i a l
j7       and punishment, in violation by defendants MANUEL IBARRA-HERRERA
Jg       and ARMANDO PAVON-REYES... and co-conspirators Juan Jo^e. Be^abe-
jj       Ramirez and Raul Lopez-Alvarez, of T i t l e 18, United States Code,
2Q       Section 3.
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28                                          -27-
     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 28 of 29 Page ID #:2502

                                  7
 1
                                          COUNT TEN
 2
                                      [18 U.S.C. S 3]
 3
              The general allegations of this Seventh Superseding
4
        Indictment are realleged in this count and incorporated herein by
5
        reference.
6
              From in or about February, 1985, through April 4, 1985, i n
7
        Mexico, Costa Rica and elsewhere, defendants INES CALDERON-
^       QUINTERO and ALBINO BAZAN-PADILLA, knowing that defendant RAFAEL
^       CARO-QUINTERO aided, abetted, counseled, induced, procured,
10      caused and otherwise w i l l f u l l y participated in the kidnapping and
11      murder of Special Agent Enrique Camarena-Salazar and Alfred
12      Zavala-Avelar in violation by RAFAEL CARO-QUINTERO of T i t l e 18,
13      United States Code, Sections 1111, 1114, 1201(a)(5), 1959 and 2,
14      did knowingly and w i l l f u l l y receive, comfort and assist defendant
15      RAFAEL CARO-QUINTERO in order to hinder and prevent his
15      apprehension, t r i a l and punishment, in violation by defendants
j7      INES CALDERON-QUINTERO and ALBINO BAZAN-PADILLA, of T i t l e 18,

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     Case 2:87-cr-00422-JAK Document 1646 Filed 07/30/92 Page 29 of 29 Page ID #:2503



 1
        United States Code, Section 3.
2
3
                                                    A TRUE BILL
4
5
6                                                   Foreperson

7       LOURDES G. BAIRD
        Unit|ed States Attorney
8
9       ROBERT L. BROSIO
        Assistant United States Attorney
10      Chief, Criminal Division

11      THOMAS H. BIENERT, J r .
        Assistant United States Attorney
12      Chief, Criminal Complaints
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